                             Hearing Date and Time: December 9, 2021 at 11:00 a.m. (prevailing Eastern Time)


Ilan D. Scharf, Esq. (NY Bar No. 4042107)
Jason S. Pomerantz, Esq. (Admitted pro hac vice)
Gail S. Greenwood, Esq. (Admitted pro hac vice)
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Telephone: (212) 561-7700
Facsimile: (212) 561-7777

Counsel to the RDC Liquidating Trust

UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re                                                          :              Chapter 11
                                                               :
ROCHESTER DRUG                                                 :              Case No. 20-20230 (PRW)
CO-OPERATIVE, INC. 1                                           :
                                                               :
                  Debtor.                                      :
---------------------------------------------------------------x


            NOTICE OF OBJECTION ON LIQUIDATING TRUSTEE’S
      SECOND OMNIBUS OBJECTION TO AMENDED CLAIMS FILED AGAINST
                 ROCHESTER DRUG CO-OPERATIVE, INC.

        PLEASE TAKE NOTICE that on November 1, 2021, Advisory Trust Group, LLC, the

trustee (the “Liquidating Trustee”) of the RDC Liquidating Trust filed its Second Omnibus

Objection to Amended Claims Filed Against Rochester Drug Co-Operative, Inc. (the

“Objection”). Pursuant to the Objection, the Liquidating Trustee seeks an order disallowing and

expunging each of the objectionable claims (the “Objectionable Claims”) listed on Exhibit A to

this Notice on the grounds that each such Objectionable Claim has been amended and superseded

by another proof of claim filed by or on behalf of the same claimant.


1
 On February 26, 2021, the Bankruptcy Court entered an order (the “Confirmation Order”) confirming the Second
Amended Chapter 11 Plan of Liquidation (the “Plan”) of Rochester Drug Co-operative, Inc. (“RDC” or the
“Debtor’), which (along with that certain Liquidating Trust Agreement and Declaration of Trust) established the
RDC Liquidating Trust and empowered it to collect and administer RDC’s assets and resolve claims against RDC.


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        PLEASE TAKE FURTHER NOTICE that a hearing on the Objection and any

responses thereto will be held before the Honorable Paul R. Warren, United States Bankruptcy

Judge, at the United States Courthouse for the Western District of New York, 100 State Street,

Rochester, New York on December 9, 2021 at 11:00 a.m. (prevailing Eastern Time) (the

“Hearing”), or as soon thereafter as counsel may be heard.

        PLEASE TAKE FURTHER NOTICE that all affidavits and memoranda in opposition

to the relief requested, if any, shall be in writing and shall be filed with the Clerk’s Office,

United States Bankruptcy Court for the Western District of New York (Rochester Division), and

served upon the undersigned counsel so as to be received no later than 72 hours prior to the

Hearing to consider the Objection.

        PLEASE TAKE FURTHER NOTICE also that:

        UNDER THE ADMINISTRATIVE ORDER DATED DECEMBER 21, 2020,
        REVISING THE NEGATIVE NOTICE PROCEDURES FOR MOTIONS
        BEFORE JUDGE WARREN: IF A PARTY REPRESENTED BY COUNSEL
        INTENDS TO OPPOSE THIS MOTION, WRITTEN OPPOSITION TO THE
        MOTION MUST BE SERVED AND FILED ELECTRONICALLY IN
        CM/ECF NOT LESS THAN 72 HOURS PRIOR TO THE SCHEDULED
        DATE AND TIME OF THE HEARING ON THE MOTION
        (NOTWITHSTANDING RULE 9006(a) FRBP). IN CASES UNDER
        CHAPTERS 7, 12 AND 13, YOU MUST SERVE THE OPPOSING PAPERS
        ON: THE MOVANT AND MOVANT’S COUNSEL, THE DEBTOR AND
        DEBTOR’S COUNSEL (IF NOT THE MOVANT), AND THE TRUSTEE. IN
        CASES UNDER CHAPTER 11, THE OPPOSING PAPERS MUST ALSO BE
        SERVED ON THE CREDITORS’ COMMITTEE AND ITS ATTORNEY,
        OR IF THERE IS NO COMMITTEE, THE 20 LARGEST UNSECURED
        CREDITORS, AND THE UNITED STATES TRUSTEE. IN THE EVENT
        THAT WRITTEN OPPOSITION IS NOT TIMELY SERVED AND FILED,
        NO HEARING WILL BE HELD ON THE MOTION; THE COURT WILL
        CONSIDER THE MOTION TO BE UNOPPOSED.




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Dated: November 1, 2021            PACHULSKI STANG ZIEHL & JONES LLP


                                   /s/ Ilan D. Scharf
                                   Ilan D. Scharf, Esq. (NY Bar No. 4042107)
                                   Jason S. Pomerantz, Esq. (admitted pro hac vice)
                                   Gail S. Greenwood, Esq. (admitted pro hac vice)
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                                   New York, New York 10017
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                                   Counsel to the RDC Liquidating Trust




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                                   EXHIBIT A




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                  Claimant Name               No. of        Amount of      Classification    No. of       Amount (as    Classification (as    Grounds for Objection      Disposition if Objection is
                                           Objectionable   Objectionable    (as filed) of   Surviving      filed) of    filed) of Surviving                                       Granted
                                               Claim           Claim       Objectionable      Claim     Surviving Claim        Claim
                                                                               Claim
BAUSCH HEALTH US LLC                            53           $1,051,350.72      GUC            64        $1,134,537.83          GUC           Claim 64 amends and     Claim 53 is disallowed. Claim 64
                                                                                                                                              supersedes Claim 53.    is not affected by the Objection,
                                                                                                                                                                      but remains subject to other and
                                                                                                                                                                      further objection.

BRIGHTON‐EGGERT PHARMACY INC                  22402           $205,000.00       GUC          22417         $675,000.00          GUC           Claim 22417 amends      Claim 22402 is disallowed. Claim
                                                                                                                                              and supersedes Claim    22417 is not affected by the
                                                                                                                                              22402.                  Objection, but remains subject to
                                                                                                                                                                      other and further objection.

EULER HERMES NORTH AMERICA INSURANCE CO         63              $8,333.18       GUC          22712            $8,333.18   $6,360.26 GUC       Claim 22712 amends      Claim 63 is disallowed. Claim
(Agent for NEWEGG BUSINESS INC)                                                                                           $1,972.92 ADM       and supersedes Claim    22712 is not affected by the
                                                                                                                                              63.                     Objection, but remains subject to
                                                                                                                                                                      other and further objection.



EULER HERMES NORTH AMERICA INSURANCE CO        147              $4,473.54       GUC          22713            $4,473.54   $1,532.65 GUC       Claim 22713 amends      Claim 147 is disallowed. Claim
(Agent for GOLDEN BROTHERS, INC.)                                                                                         $2,940.89 ADM       and supersedes Claim    22713 is not affected by the
                                                                                                                                              147.                    Objection, but remains subject to
                                                                                                                                                                      other and further objection.

GALDERMA LABORATORIES LP                        44             $22,757.47       GUC           376           $22,757.47          GUC           Claim 376 amends and    Claim 44 is disallowed. Claim 376
                                                                                                                                              supersedes Claim 44.    is not affected by the Objection,
                                                                                                                                                                      but remains subject to other and
                                                                                                                                                                      further objection.

GALDERMA LABORATORIES LP                       375             $21,788.56       GUC           376           $22,757.47          GUC           Claim 376 amends and    Claim 375 is disallowed. Claim
                                                                                                                                              supersedes Claim 375.   376 is not affected by the
                                                                                                                                                                      Objection, but remains subject to
                                                                                                                                                                      other and further objection.

GLAXOSMITHKLINE LLC                           20000          $3,956,535.04      GUC          21996       $5,805,800.00          GUC           Claim 21996 amends      Claim 20000 is disallowed. Claim
                                                                                                                                              and supersedes Claim    21996 is not affected by the
                                                                                                                                              20000.                  Objection, but remains subject to
                                                                                                                                                                      other and further objection.

HARRIS PHARMACEUTICAL INC                       4               $6,937.46       GUC           292             $6,863.30         GUC           Claim 292 amends and    Claim 4 is disallowed. Claim 292
                                                                                                                                              supersedes Claim 4.     is not affected by the Objection,
                                                                                                                                                                      but remains subject to other and
                                                                                                                                                                      further objection.

L&R DISRIBUTORS                               20029             $3,491.85       GUC          21764            $3,491.85 $3168.56 GUC          Claim 21764 amends      Claim 20029 is disallowed. Claim
                                                                                                                        $322.94 ADM           and supersedes Claim    21764 is not affected by the
                                                                                                                                              20029.                  Objection, but remains subject to
                                                                                                                                                                      other and further objection.




                                  Case 2-20-20230-PRW, DocExhibit
                                                              1405,        Filed
                                                                  A to Objection     11/01/21,
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                Claimant Name                 No. of        Amount of     Classification    No. of       Amount (as    Classification (as    Grounds for Objection      Disposition if Objection is
                                           Objectionable   Objectionable   (as filed) of   Surviving      filed) of    filed) of Surviving                                       Granted
                                               Claim           Claim      Objectionable      Claim     Surviving Claim        Claim
                                                                              Claim
LR LOGISTICAL SOLUTIONS                       20032            $20,361.90      GUC          21766          $12,928.02          GUC           Claim 21766 amends      Claim 20032 is disallowed. Claim
                                                                                                                                             and supersedes Claim    21766 is not affected by the
                                                                                                                                             20032.                  Objection, but remains subject to
                                                                                                                                                                     other and further objection.

PHARMACEUTICAL ASSOCIATES INC                    7             $47,735.51      GUC           370           $45,943.39          GUC           Claim 370 amends and    Claim 7 is disallowed. Claim 370
                                                                                                                                             supersedes Claim 7.     is not affected by the Objection,
                                                                                                                                                                     but remains subject to other and
                                                                                                                                                                     further objection.

PRINCE OF PEACE ENTERPRISES INC                 23             $29,484.40      GUC           126           $29,484.40          GUC           Claim 126 amends and    Claim 23 is disallowed. Claim 126
                                                                                                                                             supersedes Claim 23.    is not affected by the Objection,
                                                                                                                                                                     but remains subject to other and
                                                                                                                                                                     further objection.




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                                                              1405,        Filed
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                             Hearing Date and Time: December 9, 2021 at 11:00 a.m. (prevailing Eastern Time)


Ilan D. Scharf, Esq. (NY Bar No. 4042107)
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Counsel to the RDC Liquidating Trust

UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re                                                          :           Chapter 11
                                                               :
ROCHESTER DRUG                                                 :           Case No. 20-20230 (PRW)
CO-OPERATIVE, INC. 1                                           :
                                                               :
                  Debtor.                                      :
---------------------------------------------------------------x


                       LIQUIDATING TRUSTEE’S
      SECOND OMNIBUS OBJECTION TO AMENDED CLAIMS FILED AGAINST
                 ROCHESTER DRUG CO-OPERATIVE, INC.

                    THIS OBJECTION SEEKS TO DISALLOW AND EXPUNGE
                            CERTAIN FILED PROOFS OF CLAIM.

      CLAIMANTS RECEIVING THIS OBJECTION SHOULD LOCATE THEIR NAMES
           AND CLAIMS ON EXHIBIT A ATTACHED TO THIS OBJECTION.

        Advisory Trust Group, LLC, the trustee (the “Liquidating Trustee”) of the RDC

Liquidating Trust files this Second Omnibus Objection to Amended Claims Filed Against

Rochester Drug Co-Operative, Inc. (the “Objection”). Pursuant to the Objection, the Liquidating

Trustee objects to certain claims identified on Exhibit A attached hereto (collectively, the


1
 On February 26, 2021, the Bankruptcy Court entered an order confirming the Second Amended Chapter 11 Plan of
Liquidation (the “Plan of Liquidation”) of Rochester Drug Co-operative, Inc. (“RDC”) which (along with that
certain Liquidating Trust Agreement and Declaration of Trust) established the RDC Liquidating Trust and
empowered it to collect and administer RDC’s Assets and resolve Claims against RDC.


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“Objectionable Claims”) and seeks entry of an order (the “Proposed Order”), substantially in the

form annexed hereto as Exhibit B, disallowing and expunging the Objectionable Claims

pursuant to section 502(b) of title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the

“Bankruptcy Code”), and Rule 3007 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”). In support of this Objection, the Liquidating Trustee submits the

Declaration of David Greenblatt (the “Declaration”), attached hereto as Exhibit C. In further

support of this Objection, the Liquidating Trustee respectfully states as follows:

                                                 Jurisdiction

                 1.          The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2) and the

Standing Order of Reference from the United States District Court for the Western District of

New York, dated February 29, 2012. The Liquidating Trustee confirms its consent, pursuant to

Bankruptcy Rule 7008, to the entry of a final order by the Court in connection with this Objection

to the extent that it is later determined that the Court, absent consent of the parties, cannot enter

final orders or judgments in connection herewith consistent with Article III of the United States

Constitution.

                 2.          Venue in this Court is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                 3.          The bases for the relief requested herein are sections 105(a) and 502 of the

Bankruptcy Code, Bankruptcy Rule 3007 and the Local Rules for the United States Bankruptcy

Court for the Western District of New York (the “Local Bankruptcy Rules”).




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                                                 Background

                 4.          On March 12, 2020, Rochester Drug Co-Operative, Inc. (“RDC” or the

“Debtor”) filed a petition under chapter 11 the Bankruptcy Code in the United States Bankruptcy

Court for the Western District of New York (the “Bankruptcy Court”).

                 5.          On March 27, 2020, the Debtor filed its schedules of assets and liabilities

(the “Schedules”) [Docket No. 105] pursuant to Bankruptcy Rule 1007 and the Ex Parte Order

Pursuant to Bankruptcy Rules 1007(c) and 9006(b)(1) Extending the Time to File Schedules of

Assets and Liabilities, Schedules of Current Income and Expenditures, Schedules of Executory

Contracts and Unexpired Leases and Statements of Financial Affairs [Docket No. 28].

                 6.          On May 19, 2020, the Bankruptcy Court entered an order authorizing Epiq

Corporate Restructuring, LLC (“Epiq”) to serve as Claims and Noticing Agent [Docket No. 318].

                 7.          On June 15, 2020, the Bankruptcy Court entered an order [Docket No.

401] (the “Bar Date Order”) which, among other things, fixed July 31, 2020 as the date by which

any person or entity holding (a) a Claim against the Debtor that arose or is deemed to have arisen

prior to the Petition Date (the “General Bar Date”), or (b) an administrative expense claim

against the Debtor that arose under section 503(b)(9) of the Bankruptcy Code (the “503(b)(9) Bar

Date”) must file a written proof of claim (a “Proof of Claim”) asserting such claim against the

Debtor. The Liquidating Trustee is informed and believes that the Debtor (or its agents) served

the Bar Date Order, notice of the bar dates and a Proof of Claim form (collectively, the “Bar

Date Notice Package”), upon all parties contemplated by the Bar Date Order. See Certificate of

Service [Docket No. 431].




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                 8.          On December 18, 2020, the Debtor amended certain of its Schedules (the

Amended Schedules”) and gave claimants whose Claims were affected by the amendment until

January 31, 2021 to file Claims [Docket Nos. 1014, 1016].

                 9.          On February 26, 2021, the Bankruptcy Court entered an order (the

“Confirmation Order”) confirming RDC’s Second Amended Chapter 11 Plan of Liquidation (the

“Plan of Liquidation”). Pursuant to the Confirmation Order, the Plan of Liquidation and that

certain Liquidating Trust Agreement and Declaration of Trust (the “Trust Agreement”)

(collectively, the “Plan Documents”), RDC’s Assets were transferred to the RDC Liquidating

Trust which was empowered, among other things, to: (i) collect and administer the Debtor’s

Assets (including Causes of Action) and (ii) resolve Claims against the Debtor and its estate.2

                 10.         The Effective Date of the Plan of Liquidation occurred on March 19,

2021.

                 11.         As of the Effective Date, Advisory Trust Group, LLC was appointed to act

as trustee of the RDC Liquidating Trust.

                 12.         Pursuant to the Plan of Liquidation: (i) the Bankruptcy Court retained

jurisdiction, “[t]o hear and determine objections to the allowance of Claims, whether filed,

asserted or made before or after the Effective Date, including, without limitation, to hear and

determine objections to the classification of Claims and the allowance or disallowance of

disputed Claims, in whole or in part;” and (ii) the Liquidating Trustee “may object to Claims at

any time prior to the dissolution of the [RDC] Liquidating Trust.” Plan of Liquidation, §

10.13(d); § 8.14.



2
 The bankruptcy case docket numbers for the applicable documents are as follows: Confirmation Order (Dkt. No.
1257); Plan of Liquidation (Dkt. No. 1145); Notice of Effective Date (Dkt No. 1305). If not defined herein,
capitalized terms have the definitions given to them in the Plan Documents.

                                                       4
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                 13.         On July 16, 2021, the Court granted the Liquidating Trustee’s Motion for

Entry of an Order (I) Discharging Epiq Corporate Restructuring, LLC and (II) Retaining

Bankruptcy Management Solutions, Inc. d/b/a Stretto as the Post-Confirmation Claims Agent

[Docket No. 1384]. Pursuant to that order, Epiq was discharged and Bankruptcy Management

Solutions, Inc. (“Stretto”), now maintains the official claims register.

                                               Relief Requested

                 14.         By this Objection, the Liquidating Trustee seeks entry of the Proposed

Order pursuant to section 502(b) of the Bankruptcy Code and Bankruptcy Rule 3007(d)(1)3

disallowing and expunging each Objectionable Claim identified on Exhibit A because each such

claim has been amended and superseded by another proof of claim filed by or on behalf of the

same claimant. The latter claims are identified as the “Surviving Claims” on Exhibit A. The

Liquidating Trustee does not object to the Surviving Claims pursuant to this Objection, but

reserves its right to object to the Surviving Claims at a later date.

                 15.         A filed proof of claim is deemed allowed unless a party-in-interest objects.

11 U.S.C. § 502(a). Correctly filed proof of claims constitute prima facie evidence of the validity

and amount of the claim. In re Residential Capital, LLC, 524 B.R. 465, 477 (Bankr. S.D.N.Y.

2015); Fed. R. Bank. P. 3001(f).

                 16.         If an objection refuting at least one of the claim's essential allegations is

asserted, the claimant has the burden to demonstrate the validity of the claim. In re Ditech

Holding Corp., 2021 Bankr. LEXIS 1299, *10 (Bankr. S.D.N.Y. May 13, 2021). If there is an


3
 Bankruptcy Rule 3007(d)(1) permits a party in interest to file omnibus objections to more than one claim where
“the objections are based solely on the grounds that the claims should be disallowed, in whole or in part, because:
(1) they have been amended by subsequently filed proofs of claim.” Fed.R.Bankr.P. 3007(d)(3). Notwithstanding
Fed. R.Bankr. Pro. 3007(d), this Court’s Administrative Order dated December 21, 2020 provides, “Only one claim
objection will be allowed per notice or order unless the objecting party is granted permission by chambers to use
another format.” Counsel to the Liquidating Trustee sought and obtained permission from chambers to file this
Omnibus Objection.

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objection to a claim, the bankruptcy court, after notice and a hearing, shall determine the amount

of such claim as of the date of the filing of the petition, and shall allow such claim in such

amount, subject to certain exceptions identified in the statute. 11 U.S.C. § 502(b). One such

exception is that the court shall not allow a claim if “such claim is unenforceable against the

debtor and property of the debtor, under any agreement or applicable law for a reason other than

because such claim is contingent or unmatured.” 11 U.S.C. § 502(b)(1).

                 17.         Here, there is ample evidence to rebut the prima facie validity of each of

the Objectionable Claims. As set forth in more detail on Exhibit A, each Objectionable Claim

has been amended by a subsequently filed proof of claim filed on or behalf of the same claimant

(i.e., the Surviving Claim). While in some instances the Claimant did not check the “amended”

box on the subsequently filed claim, a review of the substantive documentation submitted in

support of both claims leads the Liquidating Trustee to conclude that the Surviving Claim

amended the Objectionable Claim. To allow both the Objectionable Claim and the Surviving

Claim would result in a double recovery to the claimant to the detriment of other claimants.

Accordingly, the Liquidating Trustee moves to disallow each Objectionable Claim in its entirety.

                                            Reservation of Rights

                 18.         This Objection is limited to the grounds stated herein. Accordingly, it is

without prejudice to the rights of the Liquidating Trustee or any other party in interest to object to

any of the Objectionable Claims (to the extent not disallowed and expunged pursuant to this

Objection) on any grounds whatsoever, and the Liquidating Trustee expressly reserves all further

substantive or procedural objections it may have. In addition, as is noted on Exhibit A, by this

Objection, the Liquidating Trustee seeks to disallow only the Objectionable Claims and does not




                                                       6
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seek to affect the corresponding Surviving Claims but reserves its right to bring other and further

objections to the Surviving Claims on any and all grounds.

                                                    Notice

                 19.         Pursuant to this Court’s Administrative Order dated December 21, 2020,

the Objection will be served and electronically filed at least 30 days prior to the return date and

time, and service on the claimants holding the Objectionable Claims will comply with Fed. R.

Bankr. P. 7004.

                 20.         In addition, the Liquidating Trustee will provide notice of this Objection

to: (a) the Office of the United States Trustee, 100 State Street, Room 6090, Rochester, New

York, Attn: Kathleen Dunivin Schmitt; (b) counsel to RDC; (c) the twenty largest unsecured

creditors; (d) Bankruptcy Management Solutions, Inc., and (e) all parties that have filed a request

to receive service of court filings pursuant to Bankruptcy Rule 2002.

        WHEREFORE, for the reasons stated in the Objection, the Liquidating Trustee

respectfully requests that the Court sustain the Objection, disallow each of the Objectionable

Claims listed on Exhibit A and grant such other relief as the Court deems just and proper.



Dated: November 1, 2021                            PACHULSKI STANG ZIEHL & JONES LLP

                                                   /s/ Ilan D. Scharf
                                                   Ilan D. Scharf, Esq. (NY Bar No. 4042107)
                                                   Jason S. Pomerantz, Esq. (admitted pro hac vice)
                                                   Gail S. Greenwood, Esq. (admitted pro hac vice)
                                                   780 Third Avenue, 34th Floor
                                                   New York, New York 10017
                                                   Telephone: (212) 561-7700
                                                   Facsimile: (212) 561-7777

                                                   Counsel to the RDC Liquidating Trust




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